Case 8:16-cv-00714-EAK-CPT Document 241 Filed 05/08/18 Page 1 of 1 PagelD 10663

AQ 133 (Rev. 12/09) Bill of Costs

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

TANJA VIDOVIC )
Vv. Case No.: 8:16-cv-00714-T-EAK-CPT
CITY OF TAMPA )
)
BILL OF COSTS
Judgment having been entered in the above entitled action on 02/14/2018 against _ Defendant, CityofTampa__,
the Clerk is requested to tax the following as costs: one
Hees of the Clerk Filing Fee for Complaint cece teeters $ 400.00
Fees for service of summons and subpoena ane of woniple int, Depcallan se peers Trial S a ibe 957.00
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case ...... 15,184.95
Fees and disbursements for printing .........0 seer cece ener cence nent eee eter ee nee ene eess
Fees for witnesses (itemize on page two) Attend ance at Tr ial and/or. Deposition Sami PEG MOREE RE $343.60

Fees for exemplification and the costs of making copies of any materials where the copies are

necessarily obtained for use in the Case... +. 0+. e sees eee e eee e ee ene et ee ere e eee e reece tt es 555.40

Docket fees under 28 U.S.C. 1923 2.0... ee eect n een ener nets nts eres

Costs as shown on Mandate of Court of Appeals ...... 0.6... e cece ere tenets nner e eens

Compensation of court-appointed experts ©... . 6. esses eee eeeee nner ners reer e nese neers ses

Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....

Héitinam Sa Compensation Assessed as Costs by the Court 7,900.00
TOTAL $ 25,340.95

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

 

‘Declaration :

| declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:

Electronic service [| First class mail, postage prepaid

[_] Other:
7 /, ;
s/ Attorney: Wirth pp i - SMatZ
Name of Attorney: Wendolyn S. Busch

 

 

 

 

 

 

 

 

 

For: Plaintiff, Tanja Vidovic Date: 02/15/2018
Name of Claiming Party
SHH Boch ies epee ht Taxation af Costs’ eg Siehiicaeeniss
Costs are taxed in the amount of AD el iO £y5 x \ and included in the judgment.
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| C
=I I7ARETH M_ WARPEN By: XN a ee ¥ -~1
Clerk of Court Deputy Clerk Date

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